
234 P.3d 210 (2010)
STATE of Washington, Respondent,
v.
Jeremiah Justin JONES, Petitioner.
No. 79689-1.
Supreme Court of Washington.
July 7, 2010.
Prior report: 136 Wash.App. 1009, 2006 WL 3479055.

ORDER
¶ 1 Department II of the Court, composed of Chief Justice Madsen and Justices Alexander, Chambers, Fairhurst and Stephens, considered at its July 6, 2010, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is granted and the matter is remanded to the Court of Appeals Division Three for reconsideration in light of State of Washington v. Williams-Walker, 167 Wash.2d 889, 225 P.3d 913 (2010).
For the Court
/s/ Madsen, C.J.
CHIEF JUSTICE
